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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA                               SEALED INDICTMENT

                        V.                              24Cr.

 ANTON PERAIRE-BUENO, and
 JAMES PERAIRE-BUENO.

                             Defendants.
                                                                                293
                                          COUNT ONE
                                (Conspiracy to Commit Wire Fraud)

                                             Overview

       1.      ANTON PERAIRE-BUENO and JAMES PERAIRE-BUENO, the defendants, are

brothers who studied mathematics and computer science at one of the most prestigious universities

in the country. Using the specialized skills developed during their education, as well as their

expertise in cryptocurrency trading, ANTON PERAIRE-BUENO and JAMES PERAIRE­

BUENO exploited the very integrity of the Ethereum blockchain in order to fraudulently obtain

approximately $25 million worth of cryptocurrency from victim cryptocurrency traders (the

"Exploit''). Through the Exploit, which is believed to be the very first of its kind, ANTON

PERAIRE-BUENO and JAMES PERAIRE-BUENO manipulated and tampered with the process

and protocols by which transactions are validated and added to the Ethereum blockchain. In doing

so, they fraudulently gained access to pending private transactions and used that access to alter

certain transactions and obtain their victims' cryptocurrency. Once the defendants stole their

victims' cryptocurrency, they rejected requests to return the stolen cryptocurrency and took

mnnerous steps to hide their ill-gotten gains.
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